









Dismissed and Memorandum Opinion filed May 12, 2005









Dismissed and Memorandum Opinion filed May 12, 2005.

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-05-00059-CV

____________

&nbsp;

STEVEN CRAIG MOODY, Ph.D., Appellant

&nbsp;

V.

&nbsp;

THE BOARD OF PARDONS AND PAROLES, Appellee

&nbsp;



&nbsp;

On Appeal from the 164th District
Court

Harris County, Texas

Trial Court Cause No.
04-09075

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp; O
P I N I O N

This is an appeal from a judgment signed January 3,
2005.&nbsp; No clerk=s record has been filed.&nbsp; The clerk responsible for preparing the
record in this appeal informed the court appellant did not make arrangements to
pay for the record.&nbsp; 

On January 25, 2005, notification was transmitted to all parties
of the Court's intent to dismiss the appeal for want of prosecution unless,
within fifteen days, appellant paid or made arrangements to pay for the record
and provided this court with proof of payment.&nbsp;
See Tex. R. App. P.
37.3(b).








Appellant filed no response.

Accordingly, the appeal is ordered dismissed.

&nbsp;

PER CURIAM

&nbsp;

Judgment rendered and Memorandum
Opinion filed May 12, 2005.

Panel consists of Justices Yates,
Anderson, and Hudson.

&nbsp;





